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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    BOY SCOUTS OF AMERICA AND
    DELAWARE BSA, LLC, 1                                       Case No. 20-10343 (LSS)

                            Debtors.                           (Jointly Administered)


                            NOTICE OF SUBSTITUTION OF COUNSEL

             Pursuant to Local Rule 9010-2, Paul Mones of Paul Mones PC and Domenic E. Pacitti of

Klehr Harrison Harvey Branzburg LLP hereby enter their appearances as substitute counsel for

Jorge Vega, who was previously represented by Anne Andrews of Andrews & Thornton and

Anthony M. Saccullo and Mary E. Augustine of A.M. Saccullo Legal, LLC. Anne Andrews of

Andrews & Thornton and Anthony M. Saccullo and Mary E. Augustine of A.M. Saccullo Legal,

LLC hereby withdraw their appearance as counsel for Jorge Vega.

    A.M. SACCULLO LEGAL, LLC                           KLEHR HARRISON HARVEY BRANZBURG LLP

    /s/ Mary E. Augustine                              /s/ Domenic E. Pacitti
    Anthony M. Saccullo (Bar No. 4141)                 Domenic E. Pacitti (Bar No. 3989)
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    -and-




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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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